           Case MDL No. 3009 Document 8-3 Filed 05/05/21 Page 1 of 7




                             BEFORE THE UNITED STATES
                    JUDICIAL PANEL ON MULTIDISTRICT LITIGATION



In Re: SERESTO FLEA AND TICK                        MDL. NO. 3009
COLLAR MARKETING, SALES
PRACTICES AND PRODUCTS
LIABILITY LITIGATION



                                   PROOF OF SERVICE

        In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial
Panel on Multidistrict Litigation, I hereby certify that DEFENDANTS’ UNOPPOSED
MOTION FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFF LAURA
REVOLINKSY’S MOTION FOR TRANSFER OF ACTIONS TO THE DISTRICT OF
NEW JERSEY PURSUANT TO 28 U.S.C. § 1407 FOR COORDINATED OR
CONSOLIDATED PRETRIAL PROCEEDINGS was electronically filed with the Clerk of the
JPML via CM/ECF and was served on all counsel of record who are deemed to have consented to
electronic service. I further certify that copies of the above-referenced documents were sent to
counsel as detailed in the service list attached hereto.


Date: May 5, 2021                            /s/ Tarek Ismail
                                            Tarek Ismail

                                            Counsel for Defendants Bayer Corporation, Bayer
                                            HealthCare LLC, Bayer HealthCare Animal
                                            Health Inc., Bayer U.S. LLC, Elanco Animal
                                            Health Inc., and Elanco U.S. Inc.




                                               1
          Case MDL No. 3009 Document 8-3 Filed 05/05/21 Page 2 of 7




                                     SERVICE LIST


                  Attorneys for Plaintiffs Rhonda Bomwell and Larry Sites
                                     Served via E-mail
David M. Estes
MAZIE SLATER KATZ & FREEMAN LLC
103 Eisenhower Parkway
Roseland, NJ 07068
Tel: (973) 228-9898
Fax: (973) 228-0303
E-mail: destes@mazieslater.com

Brian R. Morrison
Ariana J. Tadler
TADLER LAW LLP
One Penn Plaza, 36th Floor
New York, NY 10119
Tel: (646) 924-1040
Fax: (212) 868-1229
E-mail: bmorrison@tadlerlaw.com
E-mail: atadler@tadlerlaw.com


                Attorneys for Plaintiffs Jennifer Borchek and Lauren Skurkis
                                      Served via E-mail
Bradford B. Lear
Todd C. Werts
Anthony J. Meyer
LEAR WERTS LLP
103 Ripley Street
Columbia, MO 65201
Tel: (573) 875-1991
Fax: (573) 279-0024
E-mail: lear@learwerts.com
E-mail: werts@learwerts.com
E-mail: meyer@learwerts.com




                                             2
           Case MDL No. 3009 Document 8-3 Filed 05/05/21 Page 3 of 7




                             Attorneys for Plaintiff John Czerniak
                                      Served via E-mail
Alex R. Straus
GREG COLEMAN LAW PC
16748 McCormack Street
Los Angeles, CA 91436
Tel: (917) 471-1894
E-mail: alex@gregcolemanlaw.com

Rachel Soffin
Jonathan B. Cohen
William A. Ladnier
GREG COLEMAN LAW PC
First Tennessee Plaza 800 S. Gay Street, Suite 1100
Knoxville, TN 37929
Tel: (865) 247-0080
Fax: (865) 522-0049
E-mail: rachel@gregcolemanlaw.com
E-mail: jonathan@gregcolemanlaw.com
E-mail: will@gregcolemanlaw.com


                           Attorneys for Plaintiff Darlene Dahlgren
                                      Served via E-mail
Alex R. Straus
GREG COLEMAN LAW PC
16748 McCormack Street
Los Angeles, CA 91436
Tel: (917) 471-1894
E-mail: alex@gregcolemanlaw.com

Rachel Soffin
Jonathan B. Cohen
William A. Ladnier
GREG COLEMAN LAW PC
First Tennessee Plaza 800 S. Gay Street, Suite 1100
Knoxville, TN 37929
Tel: (865) 247-0080
Fax: (865) 522-0049
E-mail: rachel@gregcolemanlaw.com
E-mail: jonathan@gregcolemanlaw.com
E-mail: will@gregcolemanlaw.com




                                               3
           Case MDL No. 3009 Document 8-3 Filed 05/05/21 Page 4 of 7




                        Attorneys for Plaintiff Michaele Dphrepaulezz
                                      Served via E-mail
L. Timothy Fisher
Yeremey Krivoshey
Blair E. Reed
BURSOR & FISHER, P.A.
1990 North California Blvd., Suite 940
Walnut Creek, CA 94596
Tel: (925) 300-4455
Fax: (925) 407-2700
E-mail: ltfisher@bursor.com
E-mail: ykrivoshey@bursor.com
E-mail: breed@bursor.com

Scott A. Bursor
BURSOR & FISHER, P.A.
701 Brickell Avenue, Suite 1420
Miami, FL 33131
Tel: (305) 330-5512
Fax: (305) 676-9006
E-mail: scott@bursor.com


                           Attorneys for Plaintiff Thomas Maiorino
                                      Served via E-mail
Simon Bahne Paris
Patrick Howard
SALTZ, MONGELUZZI, & BENDESKY, P.C.
One Liberty Place, 52nd Floor
1650 Market Street
Philadelphia, PA 19103
Tel: (215) 575-3985
E-mail: sparis@smbb.com
E-mail: phoward@smbb.com

Daniel E. Gustafson
Mary Nikolai
David Goodwin
GUSTAFSON GLUEK, PLLC
120 South 6th Street, Suite 2600
Minneapolis, MN 55402
Tel: (612) 333-8844
Fax: (612) 339-6622
E-mail: dgustafson@gustafsongluek.com
E-mail: mnikolai@gustafsongluek.com



                                             4
           Case MDL No. 3009 Document 8-3 Filed 05/05/21 Page 5 of 7




E-mail: dgoodwin@gustafsongluek.com


             Attorneys for Plaintiffs Michael McDermott and Christina McDermott
                                        Served via E-mail
William T. Dowd
Alex R. Lumaghi
Lia Dowd
DOWD & DOWD, P.C.
211 North Broadway, Suite 4050
St. Louis, Missouri 63102
Tel: (314) 621-2500
Fax: (314) 621-2503
E-mail: bill@dowdlaw.net
E-mail: alex@dowdlaw.net
E-mail: lia@dowdlaw.net


                           Attorneys for Plaintiff Amanda Merriman
                                       Served via E-mail
Alex R. Straus
GREG COLEMAN LAW PC
16748 McCormack Street
Los Angeles, CA 91436
Tel: (917) 471-1894
E-mail: alex@gregcolemanlaw.com

Rachel Soffin
Jonathan B. Cohen
William A. Ladnier
GREG COLEMAN LAW PC
First Tennessee Plaza 800 S. Gay Street, Suite 1100
Knoxville, TN 37929
Tel: (865) 247-0080
Fax: (865) 522-0049
E-mail: rachel@gregcolemanlaw.com
E-mail: jonathan@gregcolemanlaw.com
E-mail: will@gregcolemanlaw.com


                            Attorneys for Plaintiff Laura Revolinsky
                                       Served via E-mail
Joseph LoPiccolo
John N. Poulos
Anthony S. Almeida
POULOS LOPICCOLO PC



                                               5
           Case MDL No. 3009 Document 8-3 Filed 05/05/21 Page 6 of 7




1305 South Roller Road
Ocean, New Jersey 07712
Tel: (732) 757-0165
E-mail: lopiccolo@pllawfirm.com
E-mail: poulos@pllawfirm.com
E-mail: almeida@pllawfirm.com

Bruce H. Nagel
Randee Matloff
NAGEL RICE, LLP
103 Eisenhower Parkway
Roseland, New Jersey 07068
Tel: (973) 618-0400
E-mail: rmatloff@nagelrice.com
E-mail: bnagel@nagelrice.com


                            Attorneys for Plaintiff Steven Schneider
                                       Served via E-mail
Jeffrey R. Krinsk
John J. Nelson
Keia James Atkinson
FINKELSTEIN & KRINSK LLP
501 W. Broadway, Suite 1260
San Diego, California 92101
Tel: (619) 238-1333
Fax: (619) 238-5425
E-mail: jrk@classactionlaw.com
E-mail: jjn@classactionlaw.com
E-mail: kja@classactionlaw.com


                   Attorneys for Plaintiffs Aitana Vargas and Faye Hemsley
                                       Served via E-mail
George V. Granade
REESE LLP
8484 Wilshire Boulevard, Suite 515
Los Angeles, California 90211
Tel: (310) 393-0070
Fax: (212) 253-4272
E-mail: ggranade@reesellp.com

Michael R. Reese
REESE LLP
100 West 93rd Street, 16th Floor
New York, New York 10025



                                               6
          Case MDL No. 3009 Document 8-3 Filed 05/05/21 Page 7 of 7




Tel: (212) 643-0500
Fax: (212) 253-4272
E-mail: mreese@reesellp.com

Spencer Sheehan
SHEEHAN & ASSOCIATES, P.C.
60 Cuttermill Road, Suite 409
Great Neck, New York 11021
Tel: (516) 268-7080
Fax: (516) 234-7800
E-mail: spencer@spencersheehan.com

Steffan Keeton
THE KEETON FIRM LLC
100 South Commons, Suite 102
Pittsburgh, Pennsylvania 15212
Tel: (888) 412-5291
E-mail: stkeeton@keetonfirm.com


                          Attorneys for Plaintiff Jennifer Walsh
                                   Served via E-mail
Matthew M. Guiney
Kevin G. Cooper
Betsy C. Manifold
WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
270 Madison Avenue
New York, New York 10016
Tel: (212) 545-4600
Fax: (212) 686-0114
E-mail: guiney@whafh.com
E-mail: kcooper@whafh.com
E-mail: manifold@whafh.com

Carl V. Malmstrom
WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
111 W. Jackson St., Suite 1700
Chicago, Illinois 60604
Tel: (312) 984-0000
Fax: (212) 686-0114
E-mail: malmstrom@whafh.com




                                            7
